(Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 1 of 24

my --

IN THE UNITED STATES DISTRICT COURT (#2.
FOR THE DISTRICT OF NEW MEXICO | --.-=- 3. ./

 

OOMAR 21 PH 3:06

VICTOR RICHARDSON,
Plaintiff, bs; we ag
CLEP SCE
VS.

GARY JOHNSON, Governor of New Mexico,

ROBERT J. PERRY, Secretary of Corrections,
JOHN SHANKS, Director of Adult Prisons, " CIV 0 @ 04 16 "

DONNA WILPOLT, Deputy Corrections Secretary,

JERRY TAFOYA, Deputy Corrections Secretary,

JEFF SERNA, Interstate Compact Coordinator, Karen B folzen
Vi

and

WACKENHUT CORRECTIONS CORPORATION,
ELOY MONDRAGON, Former Warden,
MAJOR RALPH LUCERO, Former Director of Security,
LT. COSTILLO, and LT. ALONZO GARCIA,
and
RONALD ANGELONE, Virginia Corrections Director,
STANLEY K. YOUNG, Wallens Ridge State Prison Warden,
and PRESENTLY UNNAMED GUARDS AND OFFICERS,
Defendants.
COMPLAINT FOR VIOLATIONS
OF CONSTITUTIONAL RIGHTS
Plaintiff Victor Richardson presents the following Complaint seeking declaratory,

compensatory, exemplary, and injunctive relief from Defendants’ denials and violations of

his civil and constitutional rights, stating as follows:
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 2 of 24

l. Plaintiff is Victor Richardson. At the end of August 1999, Plaintiff was a
prisoner living in B-Pod, the Honor Unit in Housing Unit One, at the Guadalupe County
Correctional Facility, the Wackenhut Corporation prison in Santa Rosa, New Mexico.

2. Defendants are Gary Johnson, New Mexico Governor; Robert J. Perry,
Secretary of Corrections; John Shanks, Acting Deputy Secretary and Director of Adult
Prisons; Donna Wilpolt, Deputy Secretary; Jerry Tafoya, Deputy Secretary; and Jeff
Serna, the Interstate Compact Coordinator.

3. Defendants include the Wackenhut Corrections Corporation and Eloy
Mondragon, former Warden of the Guadalupe County Correctional Facility; Major Ralph
Lucero, former Lt. Costillo; and Lt. Alonzo Garcia.

4, Defendant Ronald Angelone is the Virginia Corrections Department Director
and Stanley K. Young is the Warden of Wallens Ridge State Prison. The Presently
Unnamed Guards and Officers are State of Virginia employees and officials who
personally abused and mistreated Plaintiff when he was under their control and custody at
Wallens Ridge but whose names are not fully known at this time. The Complaint will be
amended when these names are known.

5. Defendants Gary Johnson, Robert J. Perry, John Shanks, Donna Wilpolt, Jerry
Tafoya, Jeff Serna, Eloy Mondragon, Major Ralph Lucero, Lt. Costillo, Lt. Garcia, Ronald
Angelone, Stanley K. Young and the unnamed guards and officers are sued in their

individual as well as their official capacities. The individually named Defendants, including
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 3 of 24

Governor Johnson and Secretary Perry, as well as the presently unnamed guards and officers,
are alleged to have been directly, individually, and personally involved in the acts and
omissions described herein or to have held supervisory or policy-making authority and
control over those who did directly inflict punishment and pain on Plaintiff. Secretary Perry,
Warden Mondragon, Major Lucero, and Stanley K. Young share both direct and supervisory
liability.

6. Jurisdiction of the Federal Court is invoked pursuant to the Court’s federal
question jurisdiction under 42 USC Sections 1983, 1985, 1986, and the laws and Constitu-
tions of the United States and the State of New Mexico.

FACTUAL ALLEGATIONS

7. On September 3, 1999, Defendants transferred Plaintiff and other minimum
and medium security prisoners from the Guadalupe County Correctional Facility (“GCCF’”)
in Santa Rosa, New Mexico, to Wallens Ridge State Prison (“WRSP”) in Big Stone Gap,
Virginia, a Supermax Prison, as punishment for alleged participation in the killing ofa guard
and a riot at the prison in Santa Rosa on August 31, 1999.

8. Prior to August 31, Plaintiff was housed in the Honor Unit, B-Pod, and was
employed at the prison as the recreation clerk in charge of scheduling.

9. Victor Richardson did not participate in the killing of the guard or the riot.

10. Defendants have not charged Plaintiff with any misconduct; they have not

given Plaintiff any notice of any charges, and they have not held any hearing.
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 4 of 24

11. | Although the prison was relatively new, by August 1999 the provision of
correctional services at the prison in Santa Rosa was far beneath reasonable and adequate
standards of correctional management and operations.

12. Classification and disciplinary systems were not functioning and Defendants
were ignoring crucial institutional security issues and threats. The prison was built with
serious design and structural flaws. The prison was understaffed and the staff was
inexperienced and poorly trained.

13. By the end of August 1999, following serious incidents of violence at private
prisons around the State, Governor Gary Johnson had expressed his concern about the
differences between public and private correctional facilities.

14. According to Governor Johnson and Corrections Secretary Perry, prisoners at
private prisons who were involved in violent incidents wanted to be sent back to the State-
run prisons, where living conditions were more comfortable than at the private prisons.
Governor Johnson announced a new policy of sending such prisoners out-of-state instead.

15. On Friday, August 27, 1999, the Corrections Department Defendants posted

a Notice “in every area where inmates have movement at approximately 2:23 P.M.:”
ATTENTION:
THIS DOCUMENT IS POSTED FOR INFORMATION TO ALL INMATES:

ANY FURTHER INCIDENTS OF VIOLENCE WILL RESULT IN TRANSFER OF INMATES
TO OUT OF STATE FACILITIES.

YOU WILL NOT BE MOVED TO NEW MEXICO PRISONS, BUT WILL BE MOVED
BASED ON EMERGENCY TRANSFERS TO INSTITUTIONS VIA THE INTERSTATE
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 5 of 24

COMPACT AGREEMENT AND HOUSED THERE FOR AN INDEFINITE AMOUNT OF
TIME.

YOUR INSTITUTION WILL BE LOCKED DOWN UNTIL SUCH TIME AS THE
AFFECTED INMATE TRANSFERS HAVE OCCURRED.

STATE OF NEW MEXICO CORRECTIONS DEPARTMENT
(EXHIBIT 1). The inmates correctly perceived this Notice as a threat and a challenge.

16. The posting of the Notice was done with the knowledge and approval of
Governor Johnson, Secretary Perry, and John Shanks. The Notice was posted as part of a
plan and policy of the State of New Mexico and the Department of Corrections to threaten
and intimidate prisoners with interstate transfers.

17. On Monday, August 30, 1999, there was an assault on two inmates in E-Pod
at the GCCF. Although prison officials knew who the assailants were, they were not placed
in segregation and at least one of the known assailants was apparently involved in the fatal
stabbing of Officer Ralph Garcia in E-Pod just a day later, on August 31, 1999.

18. On the evening of Tuesday, August 31, 1999, a prisoner attacked another
prisoner in the Gym and the inmates were ordered to return to their units. That night Plaintiff
was not near (and he surely did not participate in) the murder of the guard or the riot that
followed.

19. The next day, September 1, 1999, Corrections Secretary Perry issued a press

release promising that “I will have a firm and swift response to this incident.”
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 6 of 24

20. Early on the morning of Friday, September 3, 1999, Santa Rosa prison guards
placed Plaintiff on a bus. He was chained around the waist, handcuffed, and had shackles
placed on his ankles. Around 3 a.m. a convoy of about 20-vehicles left Santa Rosa for
Albuquerque.

21. Following a wait of several hours in buses on the runway at Kirtland Air Force
Base, Plaintiff and the other Santa Rosa prisoners were loaded by federal marshals into an
airplane for a three-hour trip. Upon their arrival at a small Tennessee airport the prisoners
were forced to wait for hours without water in hot vans with windows sealed shut. A
Virginia officer removed Plaintiff's partial dental bridge from his mouth and stepped on it.

22. On September 3, 1999, Corrections Secretary Perry announced:

.... the immediate transfer of approximately 120 inmates incarcerated

at the Guadalupe County Correctional Facility in Santa Rosa, to the
Wallens Ridge Correctional Facility in Big Stone Gap Virginia.

The 120 inmates are the individuals from housing unit one, pods A &
E, who participated in Tuesday nights’ riot that resulted in the vicious
killing of Correctional Officer Ralph Garcia.

Perry also announced that:

The Wallens Ridge Correctional Facility is a Super Max Level 6 Prison,
one of only two in the nation. The 120 inmates from GCCF will remain
at Wallens Ridge Correctional Facility indefinitely. While at WRCF
the inmates will be locked down for most of the day, programmed in
their cells, and under the constant supervision of Correctional Officers
armed with 12 gauge combat shotguns.

(EXHIBIT 2).
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 7 of 24

23. On Plaintiff's information and belief, he states that Defendants Ralph Lucero,
Alonzo Garcia, and Lt. Costillo selected Plaintiff for the transfer and Supermax imprison-
ment in Virginia without regard for whether or not he had participated in violence or rioting
at Santa Rosa.

24. The State of Virginia had recently opened its two new Supermax Prisons,
Wallens Ridge and Red Onion. Those prisons were designed and intended to confine,
control, and punish the worst and most violent prisoners in the country.

25. Until they arrived at Wallens Ridge State Prison Plaintiff and the other New
Mexico prisoners had no idea where they were being sent.

26. On the way to the prison the van in which Plaintiff was chained and hand-
cuffed crashed into the van in front of it. The accident occurred because the driver was
looking back to see the chained and handcuffed prisoners being thrown around the back of
the van. Although Plaintiff was injured in the accident, he received no medical attention.

27. | The prisoners were kept in vans near the Wallens Ridge Prison doors for over
four hours. The prisoners were not allowed to speak. Guards shouted taunts and threats.
When they took Plaintiff into the Wallens Ridge Prison he started to tell about the van
accident. At that point an officer with an electro-shock gun shocked Plaintiff and told him
“Just answer the questions, boy.” Despite his injuries from the van crash, Plaintiff was
punched, threatened, and abused by Wallens Ridge officers.

28. At WRSP Plaintiff was immediately placed and held in a Segregation Unit.
Case 1:00-cv-00416-JAP-WD Document 1 Filed 03/21/00 Page 8 of 24

29. At WRSP Defendants kept Plaintiff in a small cell and denied him any
meaningful programs or activities, denied opportunity for exercise and recreation, denied any
medical, dental, or psychological attention, denied access to books or law library, denied
telephone calls and other human contacts.

30. The Virginia Defendants unreasonably and cruelly humiliated and threatened
Plaintiff, and in many respects subjected him to cruel, harsh, and unusual conditions of
control and confinement which were far different and more oppressive than any of Plaintiffs
prior New Mexico prison experiences.

31. At Wallens Ridge Plaintiff was subjected to extraordinarily oppressive and
degrading measures, including absolute denial of privacy, strict control and limitation of
movement, removal of social contact, absence of meaningful activity, extreme forms of
punishment and behavioral modification, and continual threats from electroshock weapons,
chemical sprays, firearms, shotguns, police dogs and other methods of control and discipline.

32. During his first 30 days at Wallens Ridge Plaintiff was never allowed out of
his cell without first being stripped, searched, shackled, chained, and handcuffed. (EXHIBIT
3). In that time he was only allowed one shower.

33. Wallens Ridge guards terrorized Plaintiff, including incidents of gratuitous
kicking, spitting, and punching him. Officials denied him recreation time, and refused to

provide dental treatment, eyeglasses, or treatment of his back injury. (EXHIBIT 4).
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 9 of 24

34. At the time of his transfer to Wallens Ridge Plaintiff was not a gang member,
he was not an escape risk, he had not engaged in any violent activity in or out of prison, and
he was not a troublemaker of any sort.

35. | Defendants have not given any reason or explanation for sending Victor
Richardson to Wallens Ridge and confining him in the Segregation Unit.

36. Upon his return to the GCCF at the end of January, 2000, Plaintiff finds many
of the same problems at the Santa Rosa prison as before he was shipped to Wallens Ridge.
His dental, medical, and psychological needs are being ignored and Plaintiffis presently in —
serious need of dental treatment and medical attention.

COUNT 1
VIOLATIONS OF THE RIGHT TO DUE PROCESS

37. After the inmate disturbance at Santa Rosa Defendants selected Plaintiff and
others for transfer to the prison in Virginia without conducting any investigation, without
stating any valid reason or justification, and without holding any hearing.

38. The Fourteenth Amendment to the United States Constitution and Article II,
Section 18, of the New Mexico Constitution provide. the right to due process and equal
protection of the laws.

39. Defendants’ transfer of Victor Richardson to Virginia in chains and shackles,

his placement in segregation in the Segregation Unit of a Super Maximum Security prison
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 10 of 24

in Virginia, and the imposition of cruelly restrictive conditions of confinement constitute
atypical and significant hardships and deprivations of Plaintiff's rights and interests.

40. Defendants’ acts and omissions and their treatment of Victor Richardson
described herein violate commonly accepted norms of human, social, and official conduct
and behavior, and constitute human rights violations which are truly unconscionable and
offensive to the concept of ordered liberty.

41. Despite his conviction and sentence, Plaintiff has a remaining liberty interest
which Defendants have denied or seriously compromised by their acts and omissions.

42. Defendants have exhibited a pattern and practice of use of excessive force and
deliberate indifference to (or sanctioning of) that use of force that compounded and
exacerbated the initial injustice perpetrated against Plaintiff and constituted additional and
continuing violations of Plaintiffs right to procedural and substantive due process of law.

43. The compelled transfer to Virginia was made secretly, starting in the middle
of the night, without any notice and without Plaintiffs prior knowledge. Defendants kept
Plaintiff in chains, shackles, and handcuffs throughout the trip. Defendants’ acts compelling
Plaintiff's transport to Virginia in chains and shackles, placement in a super maximum
confinement prison, and the imposition of cruelly restrictive conditions of confinement
constitute atypical and significant deprivations of Plaintiff's rights and interests.

44. Defendants knew or should have known that Plaintiff was a non-violent person,

who had not been involved in the incident at Santa Rosa and who had done nothing to

10
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 11 of 24

deserve being sent to a super-maximum security institution, yet they transferred him and
forced him to submit to such extreme and oppressive conditions of confinement nonetheless.

45. | Defendants knew or should have known that they were wrongfully punishing
Plaintiff for something he didn’t do, sending him defenseless into a monstrously oppressive
institution with conditions of confinement and inmate management practices far more
demeaning and confining than any encountered in any New Mexico prison, even those
prisons housing New Mexico’s most dangerous and violent criminals.

46. Defendants’ failure to hold a hearing prior to the transfer and their continued
failure to re-classify or justify confining Plaintiffas a Maximum Security prisoner throughout
his confinement at WRSP constitutes procedural and substantive due process denials which
are shocking and offensive to the concept of ordered liberty and justice.

47. During the time he was at WRSP Plaintiffrepeatedly but futilely attempted to
invoke the prison grievance process.

48. Defendants have violated Plaintiff's right to procedural and substantive due
process of law and are liable for the damages caused by their violations of Plaintiffs

constitutional rights.

ll
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 12 of 24

COUNT 2

VIOLATIONS OF THE RIGHT TO BE FREE
OF CRUEL AND UNUSUAL PUNISHMENT

49, The preceding allegations and claims are adopted.

50. At the time Defendants transferred Plaintiff to WRSP, Plaintiff was a non-
violent individual who had no disciplinary infractions or misconduct on his prison record.

51. By subjecting Plaintiff to the most harsh and extreme conditions of
confinement and punishment and by the mistreatment of Plaintiff described herein,
Defendants have cruelly and unusually inflicted punishment that goes far beyond the bounds
of any acceptable or necessary correctional practice.

52. The Eighth Amendment to the United States Constitution and Article II,
Section 13, of the New Mexico Constitution prohibit the infliction of cruel and unusual
punishment.

53. Defendants knew that Richardson had nothing to do with the killing of the
guard or the disturbance that followed. They also knew, and it was clearly foreseeable, that
sending a blameless prisoner and other minimum and medium security prisoners like him to
a Supermax penitentiary would inflict serious emotional harm and damage.

54. Defendants have established a practice of using unnecessary and excessive
force which is neither justified or excused by any legitimate penological or correctional

policies or practices.

12
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 13 of 24

55. The force used against Plaintiff was not motivated by any good faith effort to
restore order or maintain the security of the prison. To the contrary, the force used against
Plaintiff was arbitrary, vicious, and malicious. It was intended to inflict pain and injury.

56. Defendants are liable for any and all damages, including but not limited to
damages for mental and emotional distress and physical pain and suffering, caused by their
infliction of cruel and unusual punishment on Plaintiff.

COUNT 3

VIOLATIONS OF THE RIGHT TO BE FREE
OF UNREASONABLE SEARCHES AND SEIZURES

57. The preceding allegations and claims are adopted.

58. The Fourth Amendment to the United States Constitution and Article II,
Section 10, of the New Mexico Constitution prohibit unreasonable searches and seizures.

59. Goingto and from WRSP and at WRSP, Plaintiff was repeatedly and painfully
restrained, shackled, handcuffed, and required to endure long periods of distress and
discomfort.

60. The Virginia Defendants forced Richardson to submit to numerous strip
searches, especially while in the Segregation Unit, where prisoners are searched every time
they leave their cell. A Wallens Ridge memo details the procedure:

Any time a strip search is conducted the inmate will be required to strip off all

his clothing, turn around slowly, put his hands on his buttocks, spread his
buttocks, squat to the ground while buttocks is still spread, and cough hard

twice.

13
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 14 of 24

This procedure will be followed any time a segregation inmate leaves his cell
for any reason. There will be no exceptions to this procedure.

(EXHIBIT 3).

61. By their policies, procedures, acts, and omissions, Defendants knowingly,
deliberately, and unreasonably removed and denied the residuum of privacy and personal
rights retained by Victor Richardson following his conviction and sentencing.

62. The use of searches and seizures to inflict pain on Plaintiff constitutes a
violation of the Fourth Amendment’s requirement that all searches conducted under color of
law must be reasonable as well as the Eighth Amendment prohibition against cruel and
unusual punishment.

63. Both New Mexico and Virginia Corrections Department Defendants are liable
for any and all damages resulting from their violations of Plaintiff's fundamental right to be
free of unreasonable, unwarranted and unjustified searches and seizures.

COUNT 4
VIOLATION OF INTERSTATE COMPACT

64. The preceding allegations and claims are adopted.

65. Defendants have entered into an Interstate Compact providing for transfers of
prisoners to a different state.

66. On September 3, 1999, New Mexico Corrections Secretary Robert Perry and
Virginia Corrections Director Ron Angelone entered into a Memorandum of Understanding

Between the Virginia Department of Corrections and the New Mexico Department of

14
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 15 of 24

Corrections specifically providing for the transfer of the New Mexico prisoners to Wallens
Ridge State Prison.

67. The Interstate Compact, codified as State law at 31-5-17 NMSA (2000),
provides that inmates sent to another state’s institutions “shall be treated in a reasonable and
humane manner.....”

68. The Compact further provides that confinement in another state “shall not
deprive any inmate so confined of any legal rights which said inmate would have had if
confined in an appropriate institution of the sending state.”

69. Defendants have breached the provisions of the interstate compact by failing
to treat Plaintiff and others “in a reasonable and humane manner” and by failing to provide
Plaintiff with the same rights he “would have had if confined in an appropriate institution”
in New Mexico.

70. Plaintiff has been damaged as a result of Defendants’ breach of the Interstate
Compact and Defendants are liable to Plaintiff for damages sustained as a proximate result
of their conduct.

COUNT 5
DENIAL OF EQUAL PROTECTION OF THE LAW
71. The preceding allegations and claims are adopted.
72. By selecting Plaintiff and forcing his transfer to Super Maximum Security

confinement in Virginia Defendants acted arbitrarily and unreasonably and violated

Plaintiff's right to equal protection of the law.

15
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 16 of 24

73. At WRSP the New Mexico prisoners were segregated in their own section and
were treated more harshly and cruelly than groups of prisoners from other states.

74. By treating Plaintiff and many of the other Santa Rosa prisoners differently
from other prisoners in New Mexico and by treating Plaintiff and other New Mexico
prisoners differently and more harshly than other prisoners at WRSP, Defendants have
denied Plaintiff's right to equal protection and are liable for damages resulting from their
violations.

COUNT 6

VIOLATIONS OF THE RIGHT TO BE FREE
OF THE INCIDENTS OF SLAVERY

75. The preceding allegations and claims are adopted.

76. As an African-American prisoner, Plaintiff is aware of the history of
oppression and slavery of black people in America.

77. Defendants have involuntarily transferred Plaintiff from his ordinary term of
imprisonment in New Mexico, transported him in chains and shackles, without knowledge
or explanation and without a hearing to a Super Maximum Security prison in Virginia, and
repeatedly and unnecessarily restrained, searched and threatened Plaintiff with injury or

death.

78. Defendants have severely limited Plaintiff's movement, associations, and
activities, and have mistreated Plaintiff and subjected him to unusually cruel and unreason-

able conditions of confinement.

16
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 17 of 24

79. Defendants have physically and mentally controlled and attempted to enslave
Plaintiff in a manner that reflects and represents badges and incidents of slavery.

80. Defendants are liable to Plaintiff for their violations of his rights to be free of
the incidents, appearances, and fact of slavery and involuntary servitude which are protected
by the Thirteenth Amendment to the United States Constitution.

COUNT 7
SUPERVISORY AND MANAGEMENT LIABILITY

81. The preceding allegations and claims are adopted.

82. The gratuitous and malicious uses of force and abuses of official powers and
due process rights described herein evidence supervisory and management malfeasance and
misfeasance of constitutional dimensions.

83. Defendants Perry, Shanks, Serna, Tafoya, Angelone, and Young knowingly and
deliberately failed to monitor, control, or punish the excessive use of force against Plaintiff
and the violations of his rights to due process and to be free of unreasonable searches and
seizure, and the provision of necessary mental health, medical, and dental care. In fact,
those Defendants encouraged, condoned, and participated in such uses of force and such
harsh and excessive conditions of confinement.

84. Defendants engaged in a pattern and practice of using excessive force and of

demonstrating deliberate indifference to the rights and interests of Plaintiff and other New

17
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 18 of 24

Mexico prisoners. Defendants are liable for damages resulting from their excessive use of
force and their deliberate indifference to Plaintiff's rights.
COUNT 8
CONSPIRACY

85. The preceding allegations and claims are adopted.

86. Defendants met, conversed, planned, and arranged between and among
themselves and with their subordinates to execute the transfer, placement, and punishment
of Plaintiff and the other New Mexico prisoners at Wallens Ridge State Prison.

87. Defendants have acted individually and together with each other and other
government officials and employees to plan, cause, and effect the transfer of Plaintiff and
other prisoners to Wallens Ridge State Prison knowing that the transfer and placement would
inflict extraordinary physical and emotional pain, suffering, and damage.

88. Plaintiffis entitled to the award of damages and other legal and equitable relief
for injuries resulting from Defendants conspiracy and violations of his constitutional rights.

COUNT 9

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS,
AND CLAIM FOR EXEMPLARY AND PUNITIVE DAMAGES

89. The preceding allegations and claims are adopted.
90. Defendants’ conduct described herein was willful, wanton, deliberate,
malicious, and was intended to and did punish and inflict pain and emotional! harm upon

Victor Richardson for things he did not do.

18
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 19 of 24

91. Defendants have acted with deliberate and utter indifference for Richardson’s
rights; their conduct in this case is shocking and egregious.

92.  Plaintiffis entitled to an award of exemplary and punitive damages to deter and
prevent Defendants and others from committing such extreme and offensive acts in the
future.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the award of the following relief:

A. Declaratory and compensatory relief for damages resulting from violations of
Plaintiff's liberty interests and rights to due process of law, including but not limited to
damages for pain and suffering and emotional distress.

B. Declaratory and compensatory relief for damages resulting from violations of
Plaintiff's right to be free of unreasonable searches and seizures and cruel and unusual
punishment. Relief from violations of the Thirteenth Amendment to the U.S. Constitution.

C. Declaratory and compensatory relief for damages resulting from violations of
the Interstate Compact and other agreements among the parties.

D. An Injunctive Order requiring Defendants to provide counseling, therapy,
treatment, and care necessary to treat Victor Richardson for the immediate and the long-term
effects of his four and a half months at the Super Max prison in Virginia.

E. Exemplary and punitive damages to discourage and prevent such and similar

acts by Defendants and others in the future in the amount of at least One Million Dollars.

19
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 20 of 24

F, Costs of this action and reasonable attorneys’ fees.

G. Such other and further equitable and legal relief as the Court deems just,

proper, and necessary.

20

Respectfully submitted,

Paul Livingston

Attorney for Victor Richardson
P.O. Box 90908

Albuquerque, NM 87199

(505) 823-4410
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 21 of 24

oe %

—  —o

ATTENTION:

THIS DOCUMENT IS POSTED
FOR INFORMATION TO ALL
INMATES: —

ANY FURTHER INCIDENTS OF VIOLENCE
WILL RESULT IN TRANSFER OF INMATES TO
OUT OF STATE FACILITIES.

YOU WILL NOT BE MOVED TO NEW MEXICO
PRISONS, BUT WILL BE MOVED BASED ON
EMERGENCY TRANSFERS TO INSTITUTIONS
VIA THE INTERSTATE COMPACT
AGREEMENT AND HOUSED THERE FOR AN
INDEFINITE AMOUNT OF TIME.

YOUR INSTITUTION WILL BE LOCKED DOWN
UNTIL SUCH TIME AS THE AFFECTED
INMATE TRANSFERS HAVE OCCURRED.

STATE OF NEW MEXICO
CORRECTIONS DEPARTMENT

Plaintiff's

EXHIBIT 1
Case 1:00-cv-00416-JAP-WD Documen
t1 Filed 03/21/00 RAS PAO! &torrections/press14.htm|

FOR IMMEDIATE RELEASE-September 3, 1999 ttp://

lof)

FOR IMMEDIATE RELEASE- September 3, 1999
CORRECTIONS SECRETARY ANNOUNCES INMATE T RANSFER

(Santa Fe)---New Mexico Corrections Secretary Robert J. Perry announced this morning the immediate transfer
of approximately 120 inmates incarcerated at the Guadalupe County Correctional Facility in Santa Rosa, to the
Wallens Ridge Correctional Facility in Big Stone Gap Virginia. The 120 inmates are the individuals from
housing unit one, pods A & E, who participated in Tuesday nights’ riot that resulted in the vicious killing of
Correctional Officer Ralph Garcia. The inmates were transported early this morning from the U-S Customs
Hanger at Kirtland Air Force Base in Albuquerque via a U-S Marshall Transport Jet Plane. The operation ts a
joint effort of New Mexico Corrections Department, New Mexico State Police and the U-S Marshall Service.

The Wallens Ridge Correctional Facility is a Super Max Level 6 Prison, one of only two in the nation. The 120
inmates from GCCF will remain at Wallens Ridge Correctional Facility indefinitely. While at WRCF the inmates
will be locked down for most of the day, programmed in their cells, and under the constant supervision of
Correctional Officers, armed with 12 gauge combat shotguns. Secretary Perry said this morning; “They (inmates)
will not receive the amenities they have been accustomed to while in prison in New Mexico." He added, "I do not
expect a repeat of their past behavior in the Virginia Facility considering these conditions of confinement and
supervision,”

Several inmates who were participants and witnesses in Tuesday’s homicide are being held in a New Mexico
Super Max facility for disposition of their case. Secretary Perry said, "I am hopeful these inmates are fully
prosecuted to the full extent of the law, which includes a death penalty sentence for their vicious killing of
Officer Garcia.”

FOR ADDITIONAL INFORMATION CONTACT THE CORRECTIONS DEPARTMENT AT: PAGER
NUMBER 989-5755.

Plaintiff’s

EXHIBIT 2
Case 1:00-cv-
e 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 23 of 24

  

17 Ve Ba tS =aie}e) 3

ee Wi aii

Memo

To: INMATE roar
From: MAJORT. YATES

pate: 11/12/99

Re: STRIP SEARCH PROCEDURE

LATELY THERE HAS BEEN SOME CONFUSION ABOUT THE STRIP SEARCH PROCEDURE
HERE AT WALLENS RIDGE STATE PRISON. THIS MEMO WILL CLEAR UP ANY QUESTIONS

YOU MAY HAVE ABOUT THIS PROCEDURE.

ANY TIME A STRIP SEARCH IS CONDUCTED THE INMATE WILL BE REQUIRED TO STRIP
OFF ALL HIS CLOTHING, TURN AROUND SLOWLY, PUT HIS HANDS ON HIS BUTTOCKS,
SPREAD HIS BUTTOCKS, SQUAT TO THE GROUND WHILE BUTTOCKS (S STILL SPREAD. AND

COUGH HARD TWICE.

THI§ PROCEDURE WILL BE FOLLOWED ANY TIME A SEGREGATION INMATE LEAVES HIS
CELL FOR ANY REASON. THERE WILL BE NO EXCEPTIONS TO THIS PROCEDURE.

MAJOR T. YATES

Plaintiff's

* Pane" EXHIBIT 3
Case 1:00-cv-00416-JAP-WD Document1 Filed 03/21/00 Page 24 of 24

WAL’ =NS RIDGE STAT: PRISON

REQUEST FOR SERVICES/COMPLAINT FORM
: FOR USE IN C-1 ONLY |
~~" (  ) REQUEST FOR SERVICES/INFORMA TION

(. COMPLAINT

Place a check mark next to the individual or department to whom you wish to respond to your
requesv/complaint. Forward the form through the institutional mail.

NS

 

 

 

Inmate Name iC/1 AKDSON oo TOR Number 2827¢¢ Cel C- 07

This request is directed to:

( ) Warden ( ) A Building Supervisor ( ST Medical

( ) Assistant Warden of Operations ( )B Building Supervisor ( ) Dentist

( ) Assistant Warden of Programs ( ) C Building Supervisor ( ) Psychologist

( ) Chief of Security ( )D Building Supervisor ( ) Laundry Manager

( ) Treatment Program Supervisor ( ) Personal Property ( ) Food Services

( ) Institutional Investigator ( ) Safety Officer ( ) Records Manager

( ) Disciplinary Hearings Officer ( ) Institutional Ombudsman (_ ) Business Manager

( ) Mailroom ( )Maintenance . | cae ew ee oe.
( ) Counselor (name) ' ¥ gf OCT 01

( ) Other (name) RECEIVED Ber - (399

 

ns ae ee ce me

Explain the reason for your request/complaint in the space provided. Do not add attachments.
Please Print Clearly. Only one concern or issue per request. Be specific.

Im STILL FAWN G PROBLEMS Lut pd BACK , TF (fAGE (SCEM p10 PAIN
Stee ARRIWNG AAT FettS FAG, Ato tere BlEH ABLE 7) SclEP
BulASE JE RE SAIN, Zo alas ft THE ACCOENT COMeNG FO TUS FALLLITY,
“LD HAD SEEM PIE DOLTER., THE SAME NIGHT BvT AAS tHABLE 72 SPLAK

Lure ting Cemegniiudg THE AUCHDENT. OK WV Baek PARLE,
Semeriitdg las Te BE DONE:

 

Lem Pear -G-tE-F9

eee.
Inmate Signature Je o Yale

Staff Response
Inmate Interviewed ( ) Yes (4 No

Action Taken: Phoed Ju Matti sled!

 

 

 

 

 

 

 

Plaintiff’s

Staff Signature Cha, te Date if EXHIBIT 4
